        Case 3:18-md-02843-VC Document 556-1 Filed 10/29/20 Page 1 of 3

                                             Exhibit A


                            Plaintiffs’ Proposal Regarding Search Terms Process,
                                 RFP Negotiations, and Other Sources of ESI
       1.      Facebook will make a new proposal based on the Court’s Order. Within 10

days of the Court’s Order on the parties’ pending search string dispute, Facebook will make a

revised search string proposal (with hit counts, including unique hits, for each search string and

by custodian, with results deduplicated as to custodians in Groups 1-4) for the remaining 43

custodians based on custodian groups, consistent with the Court’s Order. In connection with its

search term proposal, Facebook will identify the custodian groups to which it proposes applying

terms. Facebook’s proposal will not revise any strings to which the parties agreed or the Court

ordered for the prior custodians. If Facebook’s proposal excludes any such strings, it will

explain in writing why the string is not included. If Facebook’s proposal does not apply across

all custodians in Group 5-8, Facebook will explain in writing and with particularity why each

string should not be run against each of the excluded custodians’ files. Any string Facebook

proposes that was not agreed to or ordered by the Court must come from Facebook’s prior

proposal for the remaining custodians. Facebook will also explain in writing and with

particularity why any such string is appropriate for the proposed custodians even if it was not so

for the prior custodians.

       2.      Plaintiffs will make a counterproposal, also based on the Court’s Order. Within

10 days of receiving Facebook’s proposal, Plaintiffs will make any counterproposal. Plaintiffs’
counterproposal will not revise any strings to which the parties agreed or the Court ordered for

the prior custodians. For any additional string proposed by Plaintiffs, Plaintiffs agree to explain

in writing, consistent with this Court’s instructions, “what claim or defense is it relevant to and

why is it proportional.” See Sept. 25 Hearing Trans. at 26:4-8. If Plaintiffs ask Facebook to run

strings proposed by Facebook against the files of additional custodians, Plaintiffs will explain in

writing and with particularity why each custodian should be added to a custodian group.

Facebook will generate hit counts on Plaintiffs’ counterproposal within 5 business days
        Case 3:18-md-02843-VC Document 556-1 Filed 10/29/20 Page 2 of 3




(including unique hits) for each search string and by custodian, with results deduplicated as to

custodians in Groups 1-4.

       3.      Facebook will provide its response to Plaintiffs’ counterproposal. Within 7 days

of the receipt of hit counts on Plaintiffs’ counterproposal, Facebook will provide its response to

Plaintiffs’ counterproposal, including hit counts for each string. For any search string proposed

by Plaintiffs that Facebook does not accept, Facebook will explain in writing and with

particularly the rationale for its rejection. Similarly, Facebook will explain in writing and with

particularity its reasoning for declining to include custodians proposed by Plaintiffs in
Facebook’s proposed custodian groups.

       4.       Negotiations will be limited to two weeks. The parties will then meet and confer

for no more than two weeks, during which time Facebook will run hit counts on no more than

one additional proposal from Plaintiffs and from Facebook. In keeping with the Court’s

guidance, the Parties will include statistical sampling of any disputed search strings as part of

their negotiations. If disputes remain after that time, Facebook will provide updated hit counts

for the competing proposals. Within seven days of circulating the hit count reports, the parties

will present disputed terms to the Court in the same format as their prior search string

submissions, with each party limited to one page of narrative per term.

       5.      The Parties will Resume Negotiations as to Remaining RFPs. Plaintiffs will

identify by November 13 the “small group” of RFPs for which search terms are appropriate that

remain to be negotiated. By November 24, Facebook will make a search term proposal for those

RFPs. The parties will follow the same process for negotiations for these terms as set forth

above. Also by November 13, Facebook will provide a proposed timeline for completion of

targeted collections of responsive documents for RFPs for which targeted collections are

appropriate (i.e., RFPs 14-17, 37-51, 60, and 61), or will identify those RFPs for which it

declines to collect documents. The parties will utilize the procedures set forth in the Stipulation

and Order on Discovery Dispute Resolution Procedures entered by the Court on March 31, 2020

to resolve disputes as to RFPs for which targeted collections are appropriate.


                                                  2
        Case 3:18-md-02843-VC Document 556-1 Filed 10/29/20 Page 3 of 3




       6.      Other Sources of ESI. Pursuant to the Search Term Protocol negotiated by the

parties, Facebook has identified sources of relevant ESI for which it has not proposed that search

terms be applied. During the parties’ meet and confers, Facebook indicated that it would be

individually reviewing content in these sources to identify responsive materials. By November

13, Facebook will provide a proposal for collecting and producing responsive information from

the sources of ESI that Facebook has identified and to which it does not intend to apply search

terms, including but not limited to:

       a.      Local files
       b.      DropBox
       c.      Google Drive
       d.      Quip
       e.      Internal Tasks
       f.      One Drive
       g.      FB Workplace Groups
       h.      FB Wikis
       i.      Zoho
       j.      G Suite
       k.      Sharepoint
The parties will utilize the procedures set forth in the Stipulation and Order on Discovery

Dispute Resolution Procedures entered by the Court on March 31, 2020 to resolve disputes as to

documents collected from other sources of ESI.




                                                 3
